Case 1:19-cv-00067-LO-MSN Document 39 Filed 08/06/19 Page 1 of 2 PageID# 434



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

 CODE-TO-LEARN FOUNDATION D/B/A
 SCRATCH FOUNDATION

           Plaintiff
                   vs.                               Case No. 1:19-cv-00067-LO-MSN

 SCRATCH.ORG, an Internet domain name.

           Defendant.

                     CONSENT MOTION TO WITHDRAW AS COUNSEL

       Come now, Jay M. McDannell and BerlikLaw LLC (collectively “BerlikLaw”),

undersigned counsel in the above captioned case and respectfully ask this Court to grant this

Consent Motion to Withdraw as Counsel for Defendant Scratch.org pursuant to Local Rule

83.1(G). In support of this motion, BerlikLaw notes that David Ludwig entered his appearance

on behalf of the Defendant on August 2, 2019. The Defendant and counsel for Plaintiff have

consented to the withdraw of BerlikLaw in this matter. A proposed order is attached to this

motion and oral argument is waived pursuant to Local Rule 7.



Dated: August 6, 2019                        Respectfully submitted,


                                                     /s/    Jay M. McDannell
                                             Lee E. Berlik (VSB #39609)
                                             Jay M. McDannell, Of Counsel (VSB #45630)
                                             BERLIKLAW, LLC
                                             1818 Library Street, Suite 500
                                             Reston, Virginia 20190
                                             Tel: (703) 722-0588
                                             LBerlik@berliklaw.com
                                             JMcDannell@berliklaw.com
                                             Counsel for Defendant




Page | 1
Case 1:19-cv-00067-LO-MSN Document 39 Filed 08/06/19 Page 2 of 2 PageID# 435



                                CERTIFICATE OF SERVICE

       I certify that today, August 6, 2019, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system, which will automatically send a notification of such filing

(NEF) to the following:

                              Attison L. Barnes, III (VSB #30458)
                              David E. Weslow
                              Adrienne J. Kosak (VSB #78631)
                              Wiley Rein LLP
                              1776 K St. NW
                              Washington, DC 20006
                              abarnes@wileyrein.com
                              Counsel for Plaintiff

                              David Ludwig (VSB #73157)
                              Dunlap Bennett & Ludwig
                              211 Church Street, SE
                              Leesburg, VA 20175
                              dludwig@dblalawyers.com
                              Counsel for Defendant

                                    /s/ Jay M. McDannell




Page | 2
